              Case 2:11-cr-00166-MCE Document 159 Filed 06/12/13 Page 1 of 2


 1 KYLE R. KNAPP
   Attorney at Law
 2 California State Bar No. 166597
   1120 D Street, Suite 100
 3 Sacramento, CA 95814
   Telephone: (916) 441-4717
 4

 5 Attorney for Son Hoang

 6

 7
                                      UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,                        )   CASE NO. 2:11-cr-0166 - MCE
                                                    )
11                                 Plaintiff,       )
                                                    )
12                                                  )
     v.                                             )
13                                                  )   STIPULATION AND ORDER
                                                    )   CONTINUING DATE FOR JUDGEMENT
14 SON HOANG,                                       )   AND SENTENCING
                                                    )
15                                 Defendant.       )
                                                    )
16 __________________________________               )

17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19 counsel, Todd Leras, Assistant United States Attorney, attorney for plaintiff and Kyle Knapp, attorney

20 for defendant, SON HOANG, that the current hearing date of June 13, 2013 be vacated and the matter be

21 re-set for July 11, 2013 at 9:00 am. It is respectfully asserted that additional time is needed to fully

22 address some issues detailed in the probation and to provide further mitigation evidence to probation.

23 Dated: June 11, 2013                                   Respectfully submitted.

24                                                                  /s/ Kyle R. Knapp
                                                                  Kyle R. Knapp
25                                                                Attorney for Defendant, Son Hoang

26 Dated: June 11, 2013                                           Respectfully submitted.

27                                                                  /s/ Todd Leras
                                                                  Todd Leras
28                                                                Assistant U.S. Attorney
                                                                  Attorney for Plaintiff
              Case 2:11-cr-00166-MCE Document 159 Filed 06/12/13 Page 2 of 2


 1                                                  ORDER

 2

 3         GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the June 13, 2013

 4 hearing is vacated and the matter is re-set for judgement and sentencing on July 11, 2013 at 9:00am.

 5         IT IS SO ORDERED.

 6 Date: June 11, 2013

 7 _____________________________________

 8                                                ___________________________________________
                                                  MORRISON C. ENGLAND, JR., CHIEF JUDGE
 9                                                UNITED STATES DISTRICT COURT
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                        2                                08-CR-0427 -MCE
